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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION
 ORLANDO PEREZ MARTINEZ,
         Plaintiff,
 vs.                                           Case No. 4:18cv546-TKW-MJF
 SERGEANT K. LINTON, et al.,
         Defendants.

                              JOINT STATUS REPORT

        The Parties, Plaintiff, ORLANDO PEREZ MARTINEZ, and Defendants

SGT. KYLE LINTON, RYAN SLAYTON, C.M. COOPER, CAPT. CLINTON

BUCKLEY, and ADELINA BECERRA, file this Joint Status Report pursuant to

the Court’s Order (ECF 151).

        Counsel for Plaintiff transmitted a release to Plaintiff’s institution for his

review so that the Parties could finalize their settlement paperwork and file their

dismissal papers in this case. Because Plaintiff required clarification in Spanish,

and given delays in correspondence reaching Plaintiff in prison, Plaintiff has only

recently been able to review the release in full. On Friday, June 3, 2022, Plaintiff’s

counsel communicated with Plaintiff, who informed counsel that he has signed and

initialed the release and is attempting to return it to counsel. However, Plaintiff

advised that his housing area has been on lockdown and he has not been able to

access legal mail for several days.
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      Counsel for Plaintiff has asked Counsel for Defendants for help in making

sure Plaintiff has access to legal mail. Plaintiff expects to receive the release this

week but would request another 30 days to make sure that all the terms of the

settlement are performed before the parties file their dismissal papers.

      Respectfully Submitted on June 6, 2022,

 /s/ Joe Belitzky                            /s/ James V. Cook_________
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